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Attorneys for Plaintiffs Lima Jevremović and
Autonomous User Rehabilitation Agent, LLC

                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 LIMA JEVREMOVIĆ, an individual; and            Civil Action No:
 AUTONOMOUS USER
 REHABILITATION AGENT, LLC, a                   Document Electronically filed
 Delaware Limited Liability Company,
        Plaintiffs,
                vs.                             PLAINTIFFS’ DISCLOSURE STATEMENT
                                                PURSUANT TO L. CIV. R. 7.1.1
 BRITTANY JEREAM COURVILLE, an
 individual,


        Defendant.
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       Pursuant to L. Civ. R. 7.1.1, the undersigned counsel of record for Plaintiffs Lima Jevremović

and Autonomous User Rehabilitation Agent, LLC (together, “Plaintiffs”) hereby certify that no

person or entity not a party to this litigation is providing funding for any of the attorneys’ fees and

costs for the litigation or has any assigned financial interest in the outcome, and that no such third

person or entity exists who needs to approve litigation decisions or settlement decisions in this action

on Plaintiffs’ behalf.

                                       Respectfully submitted,

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Dated: August 8, 2022
  Case 3:22-cv-04969-ZNQ-RLS Document 3 Filed 08/09/22 Page 3 of 3 PageID: 36




                                 CERTIFICATE OF SERVICE

       I hereby certify that Defendant Brittany Jeream Courville is being served with the foregoing

Disclosure Statement Pursuant to L. Civ. R. 7.1.1 by hand delivery, addressed as follows:

                                          10 Teak Lane
                                  Princeton, New Jersey 08540



                                            s/Sherri A. Affrunti
                                            Sherri A. Affrunti, Esq.

Dated: August 8, 2022
